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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,
                                                     Case No. 15-CR-20652-7
       vs.                                           HON. GEORGE CARAM STEEH

D-7 JEROME GOOCH,

                Defendant.
_______________________________/

             ORDER STRIKING PRO SE MOTIONS [DOCS. 251 AND 253]

       Defendant Jerome Gooch, although represented by counsel, has filed a pro se

motion to dismiss due to an alleged violation of the Speedy Trial Act, as well as a

motion in which he seeks a writ of habeas corpus due to violations of his constitutional

rights. A person's right to appear pro se or by counsel is disjunctive, and a person in a

criminal matter has no right, constitutional or otherwise, to "hybrid representation" that

results in simultaneous self-representation and representation by counsel. 28 U.S.C. §

1654; United States v. Mosely, 810 F.2d 93, 97-98 (6th Cir. 1987). Accordingly,

       IT IS ORDERED that the Clerk hereby STRIKE defendant's pro se motions

[docs. 251 and 253].

Dated: July 29, 2016
                                             s/George Caram Steeh
                                             GEORGE CARAM STEEH
                                             UNITED STATES DISTRICT JUDGE

                                   CERTIFICATE OF SERVICE

                      Copies of this Order were served upon Jerome Gooch
                   #275398, Sanilac County Jail, 65 N. Elk Street, Sandusky, MI
                                48471 and attorneys of record on
                        July 29, 2016, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk
